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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

FUNCTIONAL GOVERNMENT INITIATIVE,         )
6218 Georgia Avenue, NW, Ste. 1-1235      )
Washington, DC 20011-5125,                )
                                          )
                    Plaintiff,            )                 Civil Action No. 24-1099
                                          )
v.                                        )
                                          )
U.S. DEPARTMENT OF THE INTERIOR           )
1849 C Street, N.W.                       )
Washington, DC 20240,                     )
                                          )
                    Defendant.            )
__________________________________________)


                                         COMPLAINT

       Plaintiff Functional Government Initiative (“FGI”) brings this action against Defendant

U.S. Department of the Interior (“DOI”) to compel compliance with the Freedom of Information

Act, 5 U.S.C. § 552 (“FOIA”). As grounds therefor, Plaintiff alleges the following:

                                JURISDICTION AND VENUE

       1.      The Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B)

and 28 U.S.C. § 1331.

       2.      Venue is proper in this district pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C.

§ 1391(e).

                                           PARTIES

       3.      Plaintiff FGI is an unincorporated association of individuals dedicated to

improving the American public’s access to information about the officials, decisions, actions,

and priorities of their government. See D.C. Code § 29-1102(5).




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       4.      Defendant U.S. Department of the Interior is an agency of the United States

Government within the meaning of 5 U.S.C. § 552(f)(1) and is headquartered at 1849 C Street,

N.W., Washington, DC 20240. Defendant has possession, custody, and control of records to

which Plaintiff seeks access.

                                  STATEMENT OF FACTS

       5.      FGI routinely submits FOIA requests, and this matter concerns four FOIA

requests submitted to Defendant on May 5, 2023, to which Defendant has failed to respond. The

requests seek records related to statements made by Secretary of the Interior Deb Haaland during

a Senate Committee hearing. The records sought by these requests would give the public

significantly more transparency into the information relied upon by the Secretary in her public

statements during the hearing.

       6.      Pursuant to 5 U.S.C. § 552(a)(6)(A)(i), Defendant is required to respond to FGI’s

FOIA requests within 20 working days of each request, but that deadline is extended to no more

than 10 working days if there are “unusual circumstances” as defined by 5 U.S.C.

§ 552(a)(6)(B)(iii).

       7.      Attorney General Merrick Garland stated that the FOIA is “a vital tool for

ensuring transparency, accessibility, and accountability in government,” and that the “‘basic

purpose … is to ensure an informed citizenry,’ which is ‘vital to the functioning of a democratic

society [and] needed to check against corruption and to hold the government accountable to the

governed.’” Merrick Garland, Memorandum for Heads of Executive Departments and Agencies:

Freedom of Information Act Guidelines at 1 (Mar. 15, 2022).

       8.      With regards to FGI’s FOIA requests, the statutory deadline has passed, and

Defendant has failed to provide a substantive response to the FOIA requests. In fact, as of the



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date of this Complaint, Defendant has produced no records and has failed to assert any claims

that responsive records are exempt from production.

       9.      Since Defendant has failed to comply with the time limit set forth in 5 U.S.C.

§ 552(a)(6)(A)(i), FGI is deemed to have fully exhausted any and all administrative remedies

with respect to its FOIA requests. See 5 U.S.C. § 552(a)(6)(C).

A.     FGI’S FOIA REQUEST FOR RECORDS TO THE OFFICE OF THE
       SECRETARY RELATING APPROVAL OF MINING APPLICATIONS.

       10.     On May 5, 2023, FGI submitted a FOIA request online to Defendant. See Exhibit

A. The request sought records “from the Office of the Secretary that were provided to Secretary

Haaland or used by staff to prepare briefing material in advance of the May 2 hearing that

support the Secretary’s statement during [that hearing] that the Department has approved ‘20

mines or mining modification applications since January 2021.’” The time period covered by

the FOIA request was March 2, 2023 to May 3, 2023.

       11.     In a letter dated May 10, 2023, Defendant acknowledged receipt of the May 5

FOIA request and advised FGI that it had assigned the request tracking number DOI-OS-2023-

004395. See Exhibit B.

       12.     As of the date of this Complaint, Defendant has failed to produce any responsive

records, nor has it asserted any claims that responsive records are exempt from production.

B.     FGI’S FOIA REQUEST FOR RECORDS TO THE BUREAU OF LAND
       MANAGEMENT RELATING APPROVAL OF MINING APPLICATIONS.

       13.     On May 5, 2023, FGI submitted a FOIA request online to Defendant. See Exhibit

C. The request sought records “from the Bureau of Land Management that were provided to

Secretary Haaland or used by staff to prepare briefing material in advance of the May 2 hearing

that support the Secretary’s statement during [that hearing] that the Department has approved ‘20



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mines or mining modification applications since January 21.’” The time period covered by the

FOIA request was March 2, 2023 to May 3, 2023.

       14.     In an email dated May 5, 2023, Defendant acknowledged receipt of the May 5

FOIA request and advised FGI that it had assigned the request tracking number DOI-BLM-2023-

004401. See Exhibit D.

       15.     As of the date of this Complaint, Defendant has failed to produce any responsive

records, nor has it asserted any claims that responsive records are exempt from production.

C.     FGI’S FOIA REQUEST FOR RECORDS TO THE OFFICE OF THE
       SECRETARY RELATING TO JOB CREATION.

       16.     On May 5, 2023, FGI submitted a FOIA request online to Defendant. See Exhibit

E. The request sought records “from the Office of the Secretary that were either provided to

Secretary Haaland or used by staff to prepare briefing material in preparation for the May 2

hearing in support [of] her statement that the department has created jobs through the programs

related to orphan gas wells or abandoned mines.” The time period covered by the FOIA request

was March 2, 2023 to May 3, 2023.

       17.     In a letter dated May 10, 2023, Defendant acknowledged receipt of the May 5

FOIA request and advised FGI that it had assigned the request tracking number DOI-OS-2023-

004409. See Exhibit F.

       18.     As of the date of this Complaint, Defendant has failed to produce any responsive

records, nor has it asserted any claims that responsive records are exempt from production.

D.     FGI’S FOIA REQUEST FOR RECORDS TO THE BUREAU OF LAND
       MANAGEMENT RELATING TO JOB CREATION.

       19.     On May 5, 2023, FGI submitted a FOIA request online to Defendant. See Exhibit

G. The request sought records “from the Bureau of Land Management that were either provided



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to Secretary Haaland or used by staff to prepare briefing material in preparation for the May 2

hearing in support [of] her statement that the department has created jobs through the programs

related to orphan gas wells or abandoned mines.” The time period covered by the FOIA request

was March 2, 2023 to May 3, 2023.

       20.      In an email dated May 5, 2023, Defendant acknowledged receipt of the May 5

FOIA request and advised FGI that it had assigned the request tracking number DOI-BLM-2023-

004410. See Exhibit H.

       21.      As of the date of this Complaint, Defendant has failed to produce any responsive

records, nor has it asserted any claims that responsive records are exempt from production.

                                      CAUSE OF ACTION
                               (Violation of FOIA, 5 U.S.C. § 552)

       22.      Plaintiff realleges paragraphs 1 through 21 as though fully set forth herein.

       23.      Defendant has failed to make a determination regarding FGI’s four FOIA requests

for records within the statutory time limit and is unlawfully withholding records requested by

FGI pursuant to 5 U.S.C. § 552.

       24.      FGI is being irreparably harmed by reason of Defendant’s unlawful withholding

of requested records, and FGI will continue to be irreparably harmed unless Defendant is

compelled to conform its conduct to the requirements of the law.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Functional Government Initiative requests that the Court grant

all appropriate relief for the violations of FOIA alleged above, including:

             a. An order and judgment requiring the Defendant to conduct a search for any and

                all records responsive to FGI’s FOIA requests and to demonstrate that it




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             employed search methods reasonably likely to lead to the discovery of all records

             responsive to FGI’s requests;

          b. An order and judgment requiring the Defendant to produce, by a date certain, any

             and all non-exempt records responsive to FGI’s FOIA requests and a Vaughn

             index of any responsive records withheld under claim of exemption;

          c. An order and judgment permanently enjoining Defendant from continuing to

             withhold any and all non-exempt records in this case that are responsive to FGI’s

             FOIA requests;

          d. Attorneys’ fees and costs to Plaintiff pursuant to any applicable statute or

             authority, including 5 U.S.C. § 552(a)(4)(E); and

          e. Any other relief that this Court in its discretion deems just and proper.


                                                       /s/ Jeremiah L. Morgan__________
                                                    Jeremiah L. Morgan
                                                    (D.C. Bar No. 1012943)
                                                    William J. Olson
                                                    (D.C. Bar No. 233833)
                                                    William J. Olson, P.C.
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                                                    Vienna, VA 22180-5615
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                                                    jmorgan@lawandfreedom.com

                                                    Counsel for Plaintiff
Dated: April 17, 2024                               FUNCTIONAL GOVERNMENT
                                                    INITIATIVE




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